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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF FLORIDA
                                   PANAMA CITY DIVISION

UNITED STATES OF AMERICA

-vs-                                                    Case # 5:17cr27-001


JOHNNY ALLEN                                            USM # 25761-017

                                                        Defendant’s Attorney:
                                                        David W. Collins (Appointed)
                                                        310 N. Jefferson Street
                                                        Monticello, Florida 32345
___________________________________

                                  JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to counts 1, 3 and 8 of the indictment on February 1, 2018.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offenses:


            TITLE/SECTION                 NATURE OF              DATE OFFENSE             COUNT
               NUMBER                      OFFENSE                CONCLUDED



 21 U.S.C. §§                         Conspiracy to                July 19, 2017            1
 841(a)(1), 841(b)(1)(B)(i),          Distribute and
 841(b)(1)(B)(viii), and 846          Possess with Intent
                                      to
                                      Distribute Heroin and
                                      Methamphetamine
 21 U.S.C. §§ 841(a)(1),              Distribution of Heroin      March 30, 2017            3
 841(b)(1)(C) and 18 U.S.C. § 2       and Fentanyl- Aiding
                                      and Abetting
 21 U.S.C. §§                         Conspiracy to                June 23, 2017            8
 841(a)(1), 841(b)(1)(B)(i) and 846   Attempt to Possess
                                      with Intent to
                                      Distribute
                                      100 Grams of More
                                      of a Mixture and
                                      Substance
                                      Containing a
                                      Detectable Amount of
                                      Heroin


Count 9 is dismissed on the motion of the United States.
The defendant is sentenced as provided in the following pages of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984.



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It is ordered that the defendant shall notify the United States attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant must notify the court and United States attorney of material changes in economic
circumstances.



                                       Date of Imposition of Sentence:
                                       April 12, 2018


                                       s/Robert L. Hinkle
                                       United States District Judge
                                       April 15, 2018




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                                      IMPRISONMENT

      The defendant is hereby committed to the custody of the United States
Bureau of Prisons to be imprisoned for a term of 60 months on counts 1, 3, and 8,
to run concurrently.

         The Court recommends to the Bureau of Prisons in order of priority:

                       1. The defendant should participate in a
                   residential drug-abuse program and in cognitive
                   behavioral therapy.

                       2. The defendant should be designated to a facility
                   as near as possible to Panama City, Florida.

                       3. The defendant faces state revocation
                   proceedings. This federal sentence should be
                   consecutive to or concurrent with any sentence
                   imposed in the state proceeding as ordered or
                   recommended by the state sentencing judge. If the
                   state sentencing judge imposes a concurrent sentence,
                   the Bureau of Prisons should designate a state facility
                   for service of this federal sentence, to the extent
                   necessary to give full effect to the state sentencing
                   judge’s decision.


         The defendant is remanded to the custody of the United States Marshal.




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                                      RETURN

I have executed this judgment as follows:
____________________________________________________________________________

____________________________________________________________________________


Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this

judgment.

                                 __________________________________
                                 UNITED STATES MARSHAL



                                 By:__________________________________
                                       Deputy United States Marshal




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                                  SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a
term of 4 years on counts 1 and 8, and 3 years on count 3, to run concurrently.

                                 MANDATORY CONDITIONS

         1. You must not commit another federal, state, or local crime.
         2. You must not unlawfully possess a controlled substance.
         3. You must refrain from any unlawful use of a controlled substance. You must submit
            to one drug test within 15 days of release from imprisonment and at least two
            periodic drug tests thereafter, as determined by the court.
         4. You must cooperate in the collection of DNA as directed by the probation officer.

        You must comply with the standard conditions that have been adopted by this court as
well as with any other conditions on the attached page.




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                        STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for
your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

1.       You must report to the probation office in the federal judicial district where you are
authorized to reside within 72 hours of your release from imprisonment, unless the probation
officer instructs you to report to a different probation office or within a different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the court
or the probation officer about how and when you must report to the probation officer, and you
must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to
reside without first getting permission from the court or the probation officer.
4.       You must answer truthfully the questions asked by your probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where
you live or anything about your living arrangements (such as the people you live with), you must
notify the probation officer at least 10 days before the change. If notifying the probation officer in
advance is not possible due to unanticipated circumstances, you must notify the probation
officer within 72 hours of becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere,
and you must permit the probation officer to take any items prohibited by the conditions of your
supervision that he or she observes in plain view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment,
unless the probation officer excuses you from doing so. If you do not have full-time employment
you must try to find full-time employment, unless the probation officer excuses you from doing
so. If you plan to change where you work or anything about your work (such as your position or
your job responsibilities), you must notify the probation officer at least 10 days before the
change. If notifying the probation officer at least 10 days in advance is not possible due to
unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
aware of a change or expected change.
8.       You must not communicate or interact with someone you know is engaged in criminal
activity. If you know someone has been convicted of a felony, you must not knowingly
communicate or interact with that person without first getting the permission of the probation
officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the
probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive
device, or dangerous weapon (i.e., anything that was designed, or was modified for, the specific
purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a
confidential human source or informant without first getting the permission of the court.
12.      If the probation officer determines that you pose a risk to another person (including an
organization), the probation officer may require you to notify the person about the risk and you
must comply with that instruction. The probation officer may contact the person and confirm
that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of
supervision.



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U.S. PROBATION OFFICE USE ONLY

A U.S. probation officer has instructed me on the conditions specified by the court and has
provided me with a written copy of this judgment containing these conditions. For further
information regarding these conditions, see Overview of Probation and Supervised Release
Conditions, available at: www.uscourts.gov.


Defendant’s Signature_______________________               Date ______________________




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                        SPECIAL CONDITIONS OF SUPERVISED RELEASE


       The defendant shall also comply with the following additional conditions of supervised
release:



                     1. The defendant must submit to testing to determine whether he
              is using drugs or alcohol.

                    2. The defendant must successfully participate in substance-abuse
              treatment consisting of an initial evaluation—by a probation officer or
              outside provider—and any further appropriate treatment. The treatment
              may include cognitive behavioral therapy.

                    3. The defendant must provide the probation officer all requested
              financial information, business or personal.

                     4. The defendant must cooperate with the probation department
              and the appropriate state agency on child-support matters and must make
              all required child-support payments.

                    5. The defendant must submit to a search of his person, property,
              residence, office, vehicle, or surroundings, at the request of an officer
              who has reasonable suspicion that the search will turn up evidence of a
              crime or of a violation of a condition of supervision.




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Upon a finding of a violation of probation or supervised release, I understand the Court may (1)
revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have
been provided a copy of them.


__________________________________                                 ______________
Defendant                                                          Date




___________________________________                                ______________
U.S. Probation Officer/Designated Witness                          Date




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                            CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments.

             ASSESSMENT                 JVTA*                  FINE            RESTITUTION
                                     ASSESSMENT
                  $300.00                -0-                    -0-                  -0-

                                SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
is due as follows: immediately.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment,
payment of criminal monetary penalties is due during the period of imprisonment. All criminal
monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.




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